
USCA1 Opinion

	










          November 21, 1995     [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________

        No. 92-2363
        No. 95-1531
                            SANTOS HUERTAS LABOY, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                         DR. LUIS RODRIGUEZ GONZALEZ, ET AL.,

                                Defendants, Appellees.

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                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Jaime Pieras, Jr., U.S. District Judge]
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                                 ____________________

                                        Before

                                 Lynch, Circuit Judge,
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                             Watson, Senior Judge,* and 
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                           Campbell, Senior Circuit Judge.
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            Rafael A. Oliveras Lopez de Victoria on brief for appellants.
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            Gladys E. Guemarez and Carlos A. Ramos on brief for appellees.
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        * Of the United States Court of International Trade, sitting by
        designation.
















                      Per Curiam.  Appellant Santos Huertas Laboy brought
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            a  malpractice action in the United States District Court for

            the District  of Puerto Rico against  the physician allegedly

            responsible  for  his  mother's  death  and  the  physician's

            insurance  company.    The  insurance  company  was  declared

            insolvent and its responsibilities  were assumed by appellee,

            the Puerto Rico Miscellaneous Insurance Guaranty Association.

            The district  court held  that appellant's claim  against the

            insurance  company  was  time  barred  because the  insurance

            company  was  not notified  of  the claim  within  the policy

            period.  The physician's insurance policy was a "claims-made"

            policy which only provides coverage for claims brought to the

            attention of  the insurer during the duration  of the policy.

            On appeal,  appellant argues  that the  claims-made insurance

            policy violates  the Fifth  and Fourteenth Amendments  of the

            United States  Constitution  and their  counterparts  in  the

            Commonwealth of Puerto Rico Constitution. 

                      Because appellant has no fundamental right to bring

            a claim against the physician's insurance company and because

            the  claims-made policy  at issue  did  not impair  any other

            fundamental   right   and   did    not   invoke   a   suspect

            classification,  we  apply  a  rational   basis  standard  of

            scrutiny.1  See  LCM Enters.  v. Town of  Dartmouth, 14  F.3d
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            1.  We need not decide whether there was the necessary "state
            action" to underpin appellant's Constitutional challenge. 
            Assuming arguendo there was, we nonetheless affirm.
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            675, 679 (1st Cir.  1994).  The claims-made  insurance policy

            will  therefore withstand Constitutional  challenge if  it is

            rationally related to a legitimate state interest and neither

            arbitrary, unreasonable, nor irrational.  City of Cleburne v.
                                                      ________________

            Cleburne Living Ctr., Inc.,  473 U.S. 432, 440 (1985).   Both
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            the  Supreme Court of Puerto  Rico and this  court have found

            that claims-made policies serve  public interests.  Torres v.
                                                                ______

            Estado  Libre  Asociado  de  Puerto Rico,  92  JTS  68 (1992)
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            (holding that  claims-made  policies do  not  violate  public

            policy);  DiLuglio v. New England Ins. Co., 959 F.2d 355, 358
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            (1st Cir. 1992)  ("The elimination of  'claims-made' coverage

            would   exacerbate  the   existing  crisis   in  professional

            liability insurance coverage,  or force significantly  higher

            premiums for assuming the increased risk").  We hold that the

            claims-made  policy  satisfies  rational basis  scrutiny  and

            therefore   affirm  the   district   court's   dismissal   of

            appellant's  claim  against  the  Puerto  Rico  Miscellaneous

            Insurance Guaranty Association.

                      We  have considered appellant's other arguments and

            find them to be similarly without merit.


                      Affirmed.  Costs to Appellee.
                      Affirmed.  Costs to Appellee
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